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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEVADA

UNITED STATES OF AMERICA,           )            2:08-cr-0064-RLH-GWF
                                    )
            Plaintiff,              )
                                    )
v.                                  )
                                    )
EVE MAZZARELLA,                     )
                                    )
            Defendants.             )
___________________________________ )


                        PROPOSED ORDER RE:
       LIMITED WAIVER OF ATTORNEY-CLIENT PRIVILEGE BETWEEN
    EVE MAZZARELLA AND THE LAW FIRM OF SYLVERSTER & POLEDNAK

       This matter has come before the Court during the trial of United States v. Steven

Grimm, et al., Case No. 2:08-cr-0064-RLH-GWF. After reviewing the Affidavit of

Counsel for Defendant Eve Mazzarella ("Affidavit"), the Court finds that an attorney-

client privilege exists between Eve Mazzarella and the law firm of Sylvester & Polednak,

including attorneys Donald T. Polednak and Jeffrey Sylvester. Based on the

representations of counsel in the Affidavit, and good cause appearing therefor,

       IT IS HEREBY ORDERED that Ms. Mazzarella has knowingly and voluntarily

waived made a limited waiver of her attorney-client privilege with only the law firm of
                                            51
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Sylvester & Polednak and attorneys Donald T. Polednak and Jeffrey Sylvester relating to

(1) documents identified as Bates Numbers SP000001 to SP011805 from the legal files of

Sylvester & Polednak and (2) testimony by either Donald T. Polednak or Jeffrey R.

Sylvester concerning their representation of her in connection with all real estate,

mortgage, property management, or limited liability company matters.

                   14THday
        DATED this ____ dayofofOctober,
                               November,   2011.
                                        2011.




                                           UNITED STATES DISTRICT JUDGE




                                             26
